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Defendant J&J can claim that Plaintiffs failed to establish the particular circumstances of J&J’s
fraud.

The SICOR Group (“SICOR”) laments that Plaintiffs failed to identify a SICOR “brand
name” drug. SICOR Mtn. at 3. What SICOR does not address are the MCC’s particularized
allegations as to SICOR, along with specific documented sources. See {J 319-24. Plaintiffs did
not have to rely on “conclusory allegations” when the Chairman of the Commerce Committee
determined that “{iJn 1998, a health care provider could buy Gensia’s Etoposide for $14.00,
while the AWP used to determine Medicare reimbursement was $141.97.” 4319. Moreover,
Plaintiffs also cite a report published by DHHS wherein the DOJ documented at least 17
instances where published AWPs for SICOR drugs were grossly higher than the actual prices
listed by wholesalers. § 322. In order to further demonstrate SICOR’s particular fraudulent
conduct, Plaintiffs cite the 2001 AWPs SICOR reported to the Red Book, along with the much
lower actual AWPs determined by the DOJ for the same drugs. § 323.'* In short, it is
impossible to conceive of how SICOR can claim that Plaintiffs failed to plead the particular
circumstances of SICOR’s fraud.

Warrick, too, insists on pointing to fictional Rule 9(b) deficiencies in the MCC, despite
ample particularized allegations regarding its AWP inflation scheme. Warrick asserts that its
grossly inflated AWP for albuterol sulfate was merely its “sticker price” for that particular drug.
Warrick Mtn. at 2. Warrick’s argument is a sham. The plain meaning of the phrase “average
wholesale price” does not and never has been defined as “sticker price.” The only purpose
served by inflating the AWPs (a/k/a Warrick’s “sticker price”) was to help Warrick increase
sales by making it more profitable for providers to sell the Warrick albuterol sulfate. On its face,
this kind of pricing scheme clearly gives rise to a strong inference of fraudulent intent. The

inference is further substantiated by the fact that the DOJ determined the actual AWP for

4 As an example, SICOR’s 2001 Red Book AWP for the drug Tobramycin Sulfate was $342.19, and the DOJ
determined the actual AWP for that same drug in the same dosage to be $6.98. MCC § 323. The difference between
the two AWPs created a 4,802% spread.

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Warrick’s albuterol sulfate to be $9.16, and Warrick’s 2001 Red Book AWP for that same drug
in the same dosage was $30.25, as indicated in the MCC. 9317. Plaintiffs’ allegations are
further supported by letters from U.S. Rep. Tom Bliley, a GAO report to Congress detailing
Warrick’s conduct, and Warrick’s own 2001 self-reported AWP, as published in the 2001 Red
Book. §§ 312-17. Accordingly, Plaintiffs meet the Rule 9(b) requirements standard with respect
to Warrick.

While Immunex maintains that the MCC completely fails to allege fraud with the
requisite particularity, the MCC specifically recounts fraudulent misrepresentations made
directly by Immunex. §§ 289-92. First, as fully described in the MCC, a spokeswoman from
Immunex falsely stated that Immunex’s AWPs are not its own; however, government-recovered
internal documents exposed this fraud. § 289. In a letter from Red Book to Immunex, a Red
Book representative confirmed the “atest [Immunex] AWP price changes...” 4289. This
contradiction in itself indicates the fraudulent conduct. In addition, the MCC provides two
examples of the gross spread between Immunex’s 2001 Red Book AWPs and the DOJ-
determined AWPs for the same drugs in the same dosages. 4 291. For example, Immunex’s
AWP for leucovorin calcium was $137.94, and the DOJ determined the same drug to have an
AWP of $14.58. MCC § 291. This 846% spread, if nothing else, clearly demonstrates the
circumstances of the fraud in this case. In short, Immunex cannot hide behind fictional Rule 9(b)

deficiencies.
I. PLAINTIFFS’? STATE-LAW CLAIMS ARE NOT PREEMPTED

A. There Is No Medicare Act Preemption

In their reply brief, Defendants posit three arguments in favor of preemption by the
Medicare Act. First, Defendants cite Congress of Cal. Seniors v. Catholic Healthcare West, 87
Cal. App. 4th 491, 496 (2001), a California state court decision, for the proposition that there is
no “presumption against preemption” in the field of Medicare drug reimbursement. (Defs. Reply

at 16-17). However, Catholic Healthcare stands for no such proposition. In fact, the Catholic

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Healthcare court ultimately concluded that, effectively, a presumption against preemption does
exist, explaining that “the fact that public health is a field historically within the police powers of
the states means the party asserting preemption must establish that preemption was the ‘clear and
manifest purpose of Congress.”” Catholic Healthcare, 87 Cal. App. 4th at 496. Furthermore,
and as Plaintiffs argued in their opening brief, the First, Second and Third Circuits all have held
that a presumption exists that Congress did not intend to displace state laws regulating public
health, including the containment of medical costs. (See Plaintiffs’ Opening Brief at 41.)

Next, Defendants cite Catholic Healthcare for the independent proposition that federal
law comprehensively occupies the field of Medicare reimbursement. Defs. Reply Mem. at 17-
18. Defendants’ reliance is misplaced. In Catholic Healthcare, plaintiffs alleged that the
defendant hospital committed an unlawful trade practice by including certain anti-union
expenses in its annual Medicare cost reports in violation of Medicare Part A. Id. at 493.'° After
analyzing numerous regulations in the Provider Reimbursement Manual concerning reporting
reasonable costs in relation to union activities, the court concluded that federal law
comprehensively occupied the field of Medicare provider cost reporting and reimbursement
practices. However, and as Plaintiffs argued in their opening brief (Plaintiffs’ Opening Brief,
p.43, n.31), Catholic Healthcare is distinguishable from the present case on several grounds.
First, unlike in Catholic Healthcare, reimbursement (under Medicare Part A) based on the
calculation and reporting of reasonable costs by providers is not at issue. Instead, Plaintiffs
challenge the outside manufacturers’ manipulation of a component upon which the providers’
reimbursement is based. Here, there are no analogously comprehensive cost reporting
regulations. In fact, the published AWPs are not even reviewed or approved by a government

agency. Thus, Plaintiffs’ state law claims will not require this Court to reexamine federal agency

'S Dart A relates only to services from institutional providers, whereas Part B is a voluntary program of
supplementary medical insurance, generally reimbursing beneficiaries for part of the cost of certain doctors’
services, x-rays, lab tests, and other medical services, including certain prescription drugs. Id. at 493-94.

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rulemaking on the issue. Accordingly, federal law does not occupy the field and Catholic
Healthcare is inapplicable.

Third, Defendants contend that Plaintiffs’ state claims cannot be reconciled with BIPA’s
prohibition on “directly or indirectly’ decreasing the rate of reimbursement” and therefore are a
basis of conflict preemption. Defs. Reply Mem. at 18. To prevail, Defendants must show that
Congress intended to shield fraud claims related to reimbursement under Medicare Part B from
state regulation. See Mass. Med. Soc’y. v. Dukakis, 815 F.2d 790, 793-94 (1° Cir. 1987)
(Defendants must show a “right immune from state regulation”); Pennsylvania Med. Soc’y v.
Marconis, 942 F.2d 842, 857 (3d Cir. 1991) (no preemption without “clear and unequivocal
indications of congressional intent or that [this is such] an integral part of the federal regulatory
scheme that Congress intended to shield it from state supplementation.”). However, as Plaintiffs
argued at pages 43-44 of their opening brief, BIPA sanctions HCFA review and alteration of the
AWP system; it does not prevent it. Moreover, requiring manufacturers to report accurate AWPs
arguably does not alter the rate of reimbursement, but instead restores accuracy and financial

integrity to the system that Congress intended.

B. There Is No ERISA Preemption

Defendants contend that Plaintiffs’ state law claims are preempted by ERISA because
“the Court will have to evaluate and interpret the terms of the ERISA plans to determine
defendants’ liability under the state law claims.” Defs. Reply Mem. at 20. This argument lacks
merit for two reasons.

First, ERISA preemption does not apply where, as here, Plaintiffs’ state claims are
against third-party non-fiduciaries to remedy fraud. Indeed, courts routinely allow common law
fraud claims by ERISA plans or their trustees against non-fiduciaries to proceed without ERISA
preemption. See, e.g., LeBlanc v. Cahill, 153 F.3d 134, 147 (4th Cir. 1998) (holding that
Trustees' common law fraud claim was not preempted by ERISA because “[t]he fact that the

Pension Fund is subject to ERISA is of no consequence to its common law fraud claim against

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the Appellees. With respect to this claim, the Pension Fund is simply in the role of an investor
allegedly wronged.”); Airparts Co. v. Custom Benefits/Servs., 28 F.3d 1062, 1066 (10th Cir.
1994) (holding that claims for malpractice and fraud against a nonfiduciary consultant were laws
of general application and were not preempted by ERISA). Here, Plaintiffs are not suing the
plan’s trustees or fiduciaries — they are suing non-fiduciary drug companies for deceptive
conduct and these claims cannot be preempted by ERISA.

Second, and even more importantly, the Court does not need to evaluate or interpret the
terms of the ERISA Plan to determine liability. Here, Plaintiffs only assert claims under certain
state consumer protection statutes. None of the consumer protection statutes expressly refers to
ERISA plans. Moreover, the legal determination that the conduct of Defendants constitutes
fraudulent practices does not require any resolution of any dispute or administration of the plan.
See Boston Children's Heart Found. v. Nadal-Ginard, 73 F.3d 429, 440 (1st Cir. 1996). Nor are
Plaintiffs required to prove the existence of or specific terms of the ERISA plan to establish their
claims. That the deception is raised by the plans themselves is incidental and is not essential to
plaintiffs’ state claims. In short, because the Court’s inquiry need not be directed to the ERISA

Plan, Plaintiffs’ state law claims are not preempted under ERISA.

IV. THE FILED RATE DOCTRINE DOES NOT BAR PLAINTIFFS’ CLAIMS

Only two defendants, BMS and Braun contend that Plaintiffs’ claims are barred under the
filed-rate doctrine. However, the filed-rate doctrine is wholly inapplicable to the present case for
several reasons.

First, and as Plaintiffs argued in their opening brief, the filed-rate doctrine does not
extend to Medicare Part B drugs. Most decisions involving the filed-rate doctrine have involved
heavily regulated industries, such as carriers or utilities, in which the law requires the filing of
rates or tariffs. See Town of Norwood v. New England Power Co., 23 F. Supp. 2d 109, 116, n.6
(D. Mass. 1998), aff'd in part, rev’d in part on other grounds, 202 F.3d 408 (1* Cir. 2000); see

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also Taffet v. Southern Co., 967 F.2d 1483, 1488-90 (11th Cir. 1992) (surveying cases). Indeed,
all of Defendants’ cases fall into this category.

Defendants do not dispute that courts have not applied the filed rate doctrine to Medicare.
BMS Reply Mem. at 5. This is not surprising since Medicare does not require rates to be filed.
In addition, consideration of the doctrine’s purposes reveals why an extension to Medicare is
unwarranted. More specifically, no genuine public ratemaking process exists for Medicare
covered drugs to trigger the filed-rate doctrine. The AWPs are set and reported to the publishers
at the sole discretion of Defendants. Specifically, no government agency reviews or approves an
AWYP rate base or proper rate of return. Nor does any administrative mechanism exist to ensure
that AWP rates are “just and reasonable,” or even review the AWPs for accuracy. Accordingly,
applying the filed-rate doctrine to Medicare Part B drugs would not serve the doctrine’s purposes
and only needlessly circumscribes the jurisdiction of the courts.

Next, despite Defendants’ contention otherwise, Medicare has not established a rate that
triggers the doctrine. Plaintiffs’ opening brief demonstrated that AWPs cannot trigger the
doctrine. As a result, Defendants creatively assert that Congress and HCFA have set so-called
reimbursement rates which Defendants describe as “allowed amounts” used in calculating
plaintiffs’ co-payments. BMS Reply Mem. at 2; Braun Reply Mem. at 2. In short, Defendants
appear to argue that the doctrine applies because Congress and HCFA mandate that Medicare
payments be set at AWP. However, even if these so-called rates were the ones at issue rather
than the AWPs, and they are not, such “allowed amounts” would be deemed void for purposes of
applying the doctrine because they are based exclusively on AWPs set at the sole discretion of
the manufacturer. As such, the so-called government rates have no fixed or predictable nature in
the absence of Defendants’ AWPs and are therefore rendered incomplete and meaningless. See
Atlantis Express, Inc. v. Associated Wholesale Grocers, Inc., 989 F.2d 281, 283 (8th Cir. 1993)
(refusing to apply the filed rate doctrine where tariff was not effectively filed because it was

incomplete and meaningless in the absence of distances to accompany distance rates). In sum,

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the “rates” allegedly established by the government are based entirely on AWPs set at
Defendants’ sole discretion and therefore are meaningless for purposes of triggering the
doctrine.'®

Third, Defendants argue that the filed-rate doctrine should apply even though Medicare
does not require rates to be filed. BMS Reply Mem. at 2; Braun Reply Mem. at 2. This
argument is wrong. Indeed, Defendants concede that no rate has been filed here.'’ As Plaintiffs
argued in their opening brief, the doctrine applies only after rates have been filed with the
appropriate government agency. See Town of Norwood v. New England Power Co., 202 F.3d
408, 416 (1st Cir. 2000).

In support of its argument that “rates” need not be filed, Braun asserts the principle that
the filed rate doctrine is not limited to rates “per se.” Braun Reply Mem. at 2. However, this
point is of no consequence, because even in cases where rates are not directly at issue, the
doctrine is only triggered where a plaintiff seeks relief that directly affects rates that were, in
fact, previously filed with an agency. See Natahala Power & Light Co. v. Thornburg, 476 U.S.
953, 966-67 (1986).

Likewise, BMS cites two cases for the proposition that the filed rate doctrine applies
where an agency created a formula without filing rates. BMS Reply Mem. at 4. However, these
cases are easily distinguishable on their facts and only serve to bolster Plaintiffs’ arguments. For
example, in Public Utilities Commission of the State of California v. Federal Energy Regulatory

Commission, 254 F.3d 250 (D.C. Cir. 2001), the court noted that the filed-rate doctrine was

applicable there because the relevant government agency had a manner for ensuring “just and

'6 Even if Plaintiffs’ claims did involve an industry within the doctrine’s traditional ambit, Plaintiffs have raised
no claims of the kind that the filed-rate doctrine bars. Plaintiffs do not challenge the use of AWP by the government,
but rather challenge Defendants’ deliberate failure to publish accurate AWPs. See Lipton v. MCI WorldCom, Inc.,
135 F. Supp. 2d 182, 189 n.4 (D.D.C. 2001) (holding that filed tariff doctrine does not bar plaintiff's claim seeking
to enforce the terms of the tariff).

'’ BMS, in a brief footnote, argues that a filing may have occurred when providers file claims that are
reimbursed under Medicare rules. BMS Reply Mem. at 3, n.5. However, a provider’s private filing for claims is not
the equivalent of publicly filed rates that satisfy the doctrine’s purpose of avoiding price discrimination between
ratepayers.

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reasonable rates” and the utility did not have unbridled discretion to set the rates ultimately
charged. /d. at 255. Here, neither of these safeguards is in place to prevent Defendants from
setting the alleged rates by manipulating AWPs at their discretion, as they did in fact do here.
Similarly, in Transmission Agency of N. Cal. v. Sierra Pac. Power Co., 287 F.3d 771 (9th Cir.
2002), the court emphasized that the operative order regulated rates “by setting rules requiring
open access to transmission lines at uniform, openly disclosed, rates.’ Id. at 783 (emphasis
added). Here, the manipulated AWPs do not constitute “uniform, openly disclosed rates.”

Accordingly, the filed rate doctrine is wholly inapplicable to this case.'®

V. PLAINTIFFS’ RESPONSE TO DISCREET ISSUES RAISED IN
DEFENDANTS’ INDIVIDUAL REPLY BRIEFS

A. Defendants’ Manipulation Of The AWP For Multi-Source Drugs

In their individual reply memoranda Abbott, B. Braun, Warrick and other Defendants
contend that all claims in the MCC should be dismissed to the extent that they relate to Medicare
reimbursement for multi-source drugs. Defendants claim that they could not manipulate the
AWP for competitive advantage with respect to multi-source drugs because Medicare’s
reimbursement for those drugs is based on the lower of the median of the AWP for all generic
forms of the drug or the AWP for the corresponding named-brand drug. See Abbott Reply Mem.
at 1. Defendants’ arguments ignore reality.

First, as Defendants concede, the raising of an individual Defendant’s reported AWP for
a multi-source drug raises the median AWP at which the generic drug is reimbursed. See Abbot

Reply Mem. at 2. This fact alone puts the publication and reporting of fraudulent AWPs by

'® Defendant Braun wrongly contends that Servais v. Kraft Foods, Inc., 631 N.W.2d 629 (Wis. Ct. App. 2001),
applies here. See Brawn Reply Mem. at 2. In Servais, the Wisconsin state court based its decision on the fact that
the Department of Agriculture studied, reviewed and held public hearings on rates before issuing its formal approval
in the form of a recommendation. Jd. at 632-33. Here, however, the purported “rates” are based on AWPs set at the
discretion of Defendatns without any review or approval by the federal government. Thus, Servais is inapposite.

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Defendants for generic drugs squarely within the activity complained of in the MCC. Second,
while any one generic manufacturer can only effect the median generic reimbursement AWP for
a product, Defendants can and do create a spread between the median AWP and the actual prices
paid by reporting AWPs that are far in excess of the actual wholesale prices while
simultaneously maintaining or lowering actual wholesale prices.

Documents produced to Plaintiffs since the filing of the MCC clearly indicate that
generic manufacturers are aware of the AWPs reported by their competitors and of the actual
sales price of their generic competitors and that they manipulate their own AWPs in order to gain
or maintain a competitive advantage in the market for their generic products. Each Defendant
competes by inflating its AWP and thereby inflating the median AWP. The natural and expected
result of this "leap frogging" of increasing AWPs is that multi-source drugs have some of the
highest spreads of any drugs, sometimes resulting in an AWP over 50,000% over actual costs. A

few examples from the MCC are excerpted below:

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Defendant | Multisource | RedBook DOJ MCC
Drug AWP Determined Spread Reference
Actual
AWP

Abbott Sodium $670.89 $3.22 20,735% 4190
Chloride

Baxter Dextrose $928.51 $2.25 41,167% [217

Baxter Sodium $928.51 $1.71 54,199% 4217
Chloride

Boehringer | Leucovorin | $184.40 $2.76 6,581% 231

Group Calcium

B. Braun Sodium $11.33 $1.49 660% 4/235
Chloride

BMS Etoposide $136.49 $34.30 298% 7238

Group (Vepesid)

Dey Albuterol $30.25 $9.17 230% q251
Sulfate

Immunex Leucovorin | $137.94 $14.58 846% (291
Calcium

Pharmacia Etoposide $157.65 $9.47 1,565% 4306

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Sicor Tobramycin | $342.19 $6.98 4,802% 9323

Group Sulfate

Watson Vancomycin | $70.00 $3.84 1,567% 9327
HCL

Defendants’ contention that Plaintiffs’ claims cannot, as a matter of law, apply to the
reporting of AWPs for generic or multi-source drugs ignores the facts. Multi-source drugs are

subject to fraudulent AWP manipulation as set forth in the MCC.

B. The Juridical Link Between Defendants

In their individual briefs, Baxter, B. Braun, Bayer and Sicor each challenge the standing
of Plaintiffs to bring suit against each Defendant. These Defendants claim that there can be no
juridical link between Defendants because there is not a “contractual, corporate or legal link”
between Defendants sufficient enough to find a juridical link between them. See Baxter Reply
Mem. at p. 2. However, given the facts as set forth in the MCC, the link between Defendants is
more than sufficient to find a juridical link to establish standing on behalf of each Plaintiff as
against Defendants for which a particular Plaintiff may not have purchased a drug.

As Sicor in its brief has conceded, the juridical link doctrine applies where “conduct is
standardized by a common link to an agreement, contract or enforced system which acts to
standardize the underpinnings of the claims.” Angel Music v. ABC Sports, Inc. 112 F.R.D. 70, 72
(S.D.N.Y. 1986) (emphasis added) See Sicor Reply Mem. at p. 2. In the instant case there
exists an enforced system, namely the Medicare regulations which set reimbursement at 95% of
the AWP, to which all Defendants adhere and which operates to standardized the claims set forth

in the MCC. The enforced system for Medicare reimbursement and Defendants’ perversion of

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this system though the reporting of fraudulent AWPs underpin each of the claims set forth in the
MCC. This standard statutory scheme is sufficient to allow a finding of juridical linkage.

In addition, the application of the concept of juridical linkage has recently been approved
in a context quite analogous to the instant case. Most notably, in Weld v. Glaxo Wellcome Inc.,
434 Mass. 81, 91 (2001), the Massachusetts Supreme Judicial Court found that the plaintiffs had
standing to sue pharmaceutical companies with whom they had no connection because the
companies used the same agent to distribute letters as the pharmaceutical companies with whom
the plaintiffs did have a connection. There, the court stated:

Although the contracts between CVS and the pharmaceuticals appear to have
been the product of independent, parallel negotiations, every contract created
largely identical contractual obligations between CVS and the pharmaceuticals,
and the program appears to have been administered in a substantially similar
manner across the board. Each pharmaceutical provided financing, selection
criteria, and letter content in exchange for CVS’s promise to send letters on its
letterhead to its customers who satisfied those criteria. The pharmaceuticals’
contractual obligations to CVS were directly and exclusively related to the single
course of conduct about which Kelley complains. Kelley’s claims are typical
because he and the members of the class shared a common relationship with CVS
as pharmacy customers who were made unwitting participants in the program, and
the pharmaceuticals are juridically linked through their contracts with CVS and
participation as sponsors of the program.

Weld v. Glaxo Wellcome Inc., 434 Mass. 81, 91 (2001).

As in Weld, Defendants here have engaged in a single course of conduct about which
each Plaintiff complains — the unlawful inflation of the AWP for their products. {[ 183-328. As
in Weld, each Defendant used the same agent or agents, namely the Redbook, Blue Book and
Medi-Span to accomplish their unlawful ends and disseminate their fraudulently inflated AWPs.
§§ 134-135. Each Defendant also perverted a uniform statutory regimen to accomplish its
unlawful goal - the system set up by Congress for determining reimbursement under Medicare
Part B for their products. 136-139. These alleged facts must be taken to be true for our

purposes, Warth v. Seldin, 422 U.S. 490, 501 (1975), which can only lead to the conclusion that

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Defendants are juridically linked to one another. Consequently, Plaintiffs have standing to assert
claims against Defendants from which they may not have purchased a drug because of the
juridical relationship between Defendants. Plaintiffs need not allege dealings with each
Defendant to establish standing against each Defendant.
C. Plaintiffs’ Individual Standing

In their Consolidated Memorandum in Opposition to Defendants Motions to Dismiss,
Plaintiffs submitted affidavits from each of the organizational Plaintiffs as well as from three of
the four health and welfare fund Plaintiffs in support of Plaintiffs’ standing. In further support of
the arguments set forth in its Consolidated Opposition, Plaintiffs also hereby submits the
Declaration of William J. Einhorn, Administrator of Teamsters Health and Welfare Fund of

Philadelphia and Vicinity attached hereto as Exhibit A.

VI. CONCLUSION

For the foregoing reasons, and for the reasons set forth in Plaintiffs’ Consolidated

Opposition to Defendants~Motions to Dismiss, Defendants’ motions should be denied.

By DATED: January 8, 2003.

(

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CERTIFICATE OF SERVICE

I hereby certify that I, Edward Notargiacomo, an attorney, caused a true and correct copy
of the foregoing Plaintiffs' Sur-Reply To Defendants’ Consolidated Motion To Dismiss to be

served on all counsel of record electronically, pursuant to Section D of Case Management Order

™ Ef A

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